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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF OKLAHOMA


SYSINFORMATION HEALTHCARE
SERVICES, LLC d/b/a EQUALIZERCM
SERVICES
                                                         CASE NO. CIV-18-00152-SLP
Plaintiff,

vs.

PAULS VALLEY HOSPITAL AUTHORITY
d/b/a PAULS VALLEY GENERAL HOSPITAL

Defendant.


                 STIPULATION OF DISMISSAL WITHOUT PREJUDICE


         Plaintiff,      SYSINFORMATION      HEALTHCARE        SERVICES,   LLC      d/b/a

EQUALIZERCM               SERVICES   and    Defendant,   PAULS    VALLEY    HOSPITAL

AUTHORITY d/b/a PAULS VALLEY GENERAL HOSPITAL, pursuant to Fed. R. Civ.

P. 41(1)(A)(ii), hereby stipulate to the dismissal of the above-entitled cause of action

without prejudice to the refiling of same. Each party will bear its own costs, expenses,

and attorney fees incurred in the action.

Respectfully submitted,                           s/Jerome S. Sepkowitz, OBA#8081
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                                              -and-

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                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on July 24, 2019, a copy of the foregoing was

electronically filed with the Court using the CM/ECF system, which sent notification to

all parties of interest entitled to notice.

         James W. Vogt
         Charles M. Tatelbaum
         Brett Agee


                                                       s/Jerome S. Sepkowitz




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